              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
            CRIMINAL CASE NO. 2:13-cr-00009-MR-DLH-1


UNITED STATES OF AMERICA         )
                                 )
                                 )
                   vs.           )              ORDER
                                 )
                                 )
CIPRIANO RAMOS ALTAMIRANO.       )
                                 )
________________________________ )

      THIS MATTER is before the Court on the Defendant’s letter, which

the Court construes as a motion to file a late notice of appeal [Doc. 418].

      The Defendant was sentenced on October 23, 2014 to a term of 135

months’ imprisonment. [Doc. 370]. Judgment was entered on October 27,

2014. [Id.]. No appeal was filed from that Judgment.

      On February 11, 2015, the Court received the present letter from the

Defendant. [Doc. 418]. In his letter, the Defendant claims that “the lawyer

who [assisted] me at my Sentencing Hearing told me that he was going to

file a Notice of Appeal on my behalf.” [Id. at 1 (emphasis added)].1 The

Defendant states, however, that he has not received anything from the

Court regarding his appeal. The Defendant asks that in the event that an

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  The Defendant was represented by Assistant Federal Defender Fredilyn Sison at
sentencing.


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appeal was not filed that “this Notice” be forwarded to the Court of Appeals.

He also requests that counsel be appointed to represent him on appeal.

[Id. at 2].

        Federal Rule of Appellate Procedure 4(b) provides that in a criminal

case, “a defendant’s notice of appeal must be filed in the district court

within 14 days after . . .the entry of ... the judgment … being appealed[.]”

Fed. R. App. P. 4(b)(1)(A)(i).      The Defendant’s notice of appeal of the

Court’s Judgment therefore should have been filed on or before November

10, 2014, 14 days after the entry of Judgment on October 27, 2014. See

id.

        Rule 4 also provides, in pertinent part, as follows:

              Upon a finding of excusable neglect or good cause,
              the district court may -- before or after the time has
              expired, with or without motion and notice -- extend
              the time to file a notice of appeal for a period not to
              exceed 30 days from the expiration of the time
              otherwise prescribed by this Rule 4(b).

Fed. R. App. P. 4(b)(4). Other than as provided in Rule 4(b)(4), this Court

may not enlarge the time for filing an appeal. United States v. Stockton,

240 F. App’x 601, 601 (4th Cir. 2007) (per curiam).

        Pursuant to Rule 4(b)(4), the Defendant’s time to file an appeal could

not have been extended any later than December 10, 2014. Because the

Defendant’s present request was filed well outside of this 30-day window,
                                         2

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the Court must deny his motion. See United States v. Raynor, 939 F.2d

191, 197 (4th Cir. 1991) (noting that the time periods contained within Rule

4(b) are “mandatory and jurisdictional”).          Accordingly, the Defendant’s

request to file a late notice of appeal must be denied. The Defendant’s

request for the appointment of appellate counsel is therefore denied as

moot.

        Finally, the Defendant requests copies of the following documents: “a

docket sheet of my case”; “a copy of the Plea Agreement”; and “a copy of

the Indictment.” [Doc. 418 at 2]. While the Court will direct the Clerk of

Court to provide the Defendant with copies of the docket sheet and the Bill

of Indictment, the Court notes that the Defendant was found guilty by a jury

and as such, there was no plea agreement in this case.

        IT IS, THEREFORE, ORDERED that the Defendant’s letter, which

the Court construes as a motion for leave to file a late notice of appeal

[Doc. 418] is DENIED.

        IT IS FURTHER ORDERED that the Clerk of Court shall send copies

of the docket sheet and the Bill of Indictment to the Defendant.

        IT IS SO ORDERED.         Signed: February 16, 2015




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